
Turley, J.
delivered the opinion of the court.
The only question presented in this case is, whether if the defendant in an execution agree that a sale of his personal ef-*578ffects may be made, without their being present at the sale, and such sale be made, the vendee obtains the legal title thereto.
The facts of the case are these: An execution had been issued against the plaintiff in error and was levied upon a negro child of infantine age, and he authorized the sheriff to expose the same to public sale without it. It was purchased by the defendant, who in some short time thereafter reduced it to possession, upon which this action of trover was brought. Plaintiff having lost the case in the Circuit Court, has prosecuted his appeal in the nature of a writ of error to this. Upon the whole view of the case, we are satisfied there is no error in the judgment below. For though it be unquestionable as a general rale, that personal property cannot be sold under process by a sheriff or other officer, without its actual presence at the time of the sale, yet it is equally true that this restriction is intended for the benefit merely of the owner; and if he agree that it may be done otherwise, he is not injured, and has no cause of complaint.
Judgment affirmed.
